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                                                                      FILED
                                                           UNITED STATES DISTRICT COURT
                                                                DENVER, COLORADO
                                                                   11:09 am, Jun 16, 2020

                                                             JEFFREY P. COLWELL, CLERK




                                     Colorado Case No. 20-mj-00073-nrn
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  HMJ:hcs
  AO 91 (Rev. 11/11) Criminal Complaint                                                             2020R00273


                                UNITED STATES DISTRICT COURT
                                                    for the
                                             District of Minnesota

 UNITED STATES OF AMERICA
                                                          FILED UNDER SEAL PURSUANT TO
                   V.
                                                          ORDER
                                                                                    20-mj-401 HB
 DYLAN SHAKESPEARE ROBINSON                               Case No.

                                          CRIMINAL COMPLAINT
     I, the undersigned complainant, being duly sworn, state the following is true and correct to the best of

my knowledge and belief. On or about May 28, 2020, in Minneapolis, in the State and District of Minnesota,

defendant DYLAN SHAKESPEARE ROBINSON aided and abetted the commission of arson in violation of

18 U.S.C § 844(i) (arson) and 18 U.S.C. § 2 (aiding and abetting)

     I further state that I am an ATF Special Agent and that this complaint is based on the following facts:

     SEE ATTACHED AFFIDAVIT
Continued on the attached sheet and made a part hereof:       181Yes   □   No


                                                               �.,r,,j               C>-
                                                                       Comp(aina'ifl's signature
                                                         Nathan R. Boyer, Special Agent
SUBSCRIBED and SWORN before me                           Bureau of Alcohol, Tobacco, Firearms and
by reliable electronic means (FaceTime and email)        Explosives
pursuant to Fed. R. Crim. P. 41(d)(3).                                 Pr�nted name a.nd title



Date:       June 13, 2020
                                                                             Judge's Signature
City and State:           St. Paul, MN                 The Honorable ildy Bowbeer
                                                       United States Magistrate Judge
                                                                           Printed Name and Title
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